                    Case 24-00906                  Doc 1              Filed 01/24/24 Entered 01/24/24 09:00:46                               Desc Main
                                                                        Document Page 1 of 22
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

               Northern District of Illinois

 Case number (If known):                           Chapter you are filing under:
                                                   ❑        Chapter 7
                                                   ❑        Chapter 11
                                                   ❑
                                                                                                                                           ❑ Check if this is an
                                                            Chapter 12
                                                   ✔
                                                   ❑        Chapter 13
                                                                                                                                               amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                           12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                               About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Kwok
       Write the name that is on your          First name                                                      First name
       government-issued picture               Lun
       identification (for example, your
                                               Middle name                                                     Middle name
       driver’s license or passport).
                                               Wong
       Bring your picture identification       Last name                                                       Last name
       to your meeting with the trustee.

                                               Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years                First name                                                      First name

       Include your married or maiden
       names and any assumed, trade            Middle name                                                     Middle name
       names and doing business as
       names.
                                               Last name                                                       Last name
       Do NOT list the name of any
       separate legal entity such as a
       corporation, partnership, or LLC        Business name (if applicable)                                   Business name (if applicable)
       that is not filing this petition.
                                               Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                               xxx - xx - 1           0    2   2                               xxx - xx -
       Social Security number or
       federal Individual Taxpayer             OR                                                              OR
       Identification number
                                               9xx - xx -                                                      9xx - xx -
       (ITIN)




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 Debtor 1            Kwok                Lun                         Wong                                           Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
                                                      -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          738 Bethel Ave
                                          Number            Street                                        Number           Street




                                          Bolingbrook, IL 60490
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Will
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




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 Debtor 1           Kwok               Lun                      Wong                                            Case number (if known)
                    First Name         Middle Name              Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ❑      Chapter 7
                                       ❑      Chapter 11
                                       ❑      Chapter 12
                                       ✔
                                       ❑      Chapter 13



  8.   How you will pay the fee        ❑ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                             details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                             check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                             a credit card or check with a pre-printed address.
                                       ✔ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                       ❑
                                             to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                             judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                             official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                             choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                             103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                 When                        Case number
                                                                                                        MM / DD / YYYY

                                                  District                                       When                        Case number
                                                                                                        MM / DD / YYYY

                                                  District                                       When                        Case number
                                                                                                        MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                     Relationship to you
       case with you, or by a
       business partner, or by an                 District                                     When                      Case number, if known
       affiliate?                                                                                     MM / DD / YYYY


                                                  Debtor                                                                 Relationship to you

                                                  District                                     When                      Case number, if known
                                                                                                      MM / DD / YYYY




  11. Do you rent your residence?      ✔ No. Go to line 12.
                                       ❑
                                       ❑ Yes. Has your landlord obtained an eviction judgment against you?
                                                   ❑ No. Go to line 12.
                                                   ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                        as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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 Debtor 1           Kwok                   Lun                       Wong                                          Case number (if known)
                    First Name             Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an                 Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.          Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.
                                                 City                                               State            ZIP Code

                                                 Check the appropriate box to describe your business:

                                                 ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑              I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                           I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                          Bankruptcy Code.

                                           ❑ Yes.         I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                          Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.         I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                          Code, and I choose to proceed under Subchapter V of Chapter 11.




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 Debtor 1           Kwok                Lun                     Wong                                         Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
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 Debtor 1           Kwok                Lun                      Wong                                           Case number (if known)
                    First Name          Middle Name              Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                             You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                               ❑ I received a briefing from an approved credit
      bankruptcy. You must truthfully         counseling agency within the 180 days before I                counseling agency within the 180 days before I
      check one of the following              filed this bankruptcy petition, and I received a              filed this bankruptcy petition, and I received a
      choices. If you cannot do so,           certificate of completion.                                    certificate of completion.
      you are not eligible to file.
                                              Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment
      If you file anyway, the court           plan, if any, that you developed with the agency.             plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                 ❑ I received a briefing from an approved credit
      paid, and your creditors can            counseling agency within the 180 days before I                counseling agency within the 180 days before I
      begin collection activities             filed this bankruptcy petition, but I do not have a           filed this bankruptcy petition, but I do not have a
      again.                                  certificate of completion.                                    certificate of completion.
                                              Within 14 days after you file this bankruptcy petition,       Within 14 days after you file this bankruptcy petition,
                                              you MUST file a copy of the certificate and payment           you MUST file a copy of the certificate and payment
                                              plan, if any.                                                 plan, if any.
                                        ❑ I certify that I asked for credit counseling services         ❑ I certify that I asked for credit counseling services
                                              from an approved agency, but was unable to                    from an approved agency, but was unable to
                                              obtain those services during the 7 days after I               obtain those services during the 7 days after I
                                              made my request, and exigent circumstances                    made my request, and exigent circumstances
                                              merit a 30-day temporary waiver of the                        merit a 30-day temporary waiver of the
                                              requirement.                                                  requirement.
                                              To ask for a 30-day temporary waiver of the                   To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining               requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why you         what efforts you made to obtain the briefing, why you
                                              were unable to obtain it before you filed for                 were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                    bankruptcy, and what exigent circumstances
                                              required you to file this case.                               required you to file this case.

                                              Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                              If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                              along with a copy of the payment plan you                      along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                              be dismissed.                                                  be dismissed.

                                              Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                              for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit          ❑ I am not required to receive a briefing about credit
                                              counseling because of:                                        counseling because of:
                                              ❑ Incapacity. I have a mental illness or a mental             ❑ Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me                                      deficiency that makes me
                                                                incapable of realizing or making                              incapable of realizing or making
                                                                rational decisions about finances.                            rational decisions about finances.
                                              ❑ Disability.     My physical disability causes me            ❑ Disability.     My physical disability causes me
                                                                to be unable to participate in a                              to be unable to participate in a
                                                                briefing in person, by phone, or                              briefing in person, by phone, or
                                                                through the internet, even after I                            through the internet, even after I
                                                                reasonably tried to do so.                                    reasonably tried to do so.
                                              ❑ Active duty. I am currently on active military              ❑ Active duty. I am currently on active military
                                                                duty in a military combat zone.                               duty in a military combat zone.

                                              If you believe you are not required to receive a               If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.


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                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ✔ No. Go to line 16b.
                                                   ❑
                                                   ❑ Yes. Go to line 17.
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ✔ No. Go to line 16c.
                                                   ❑
                                                   ❑ Yes. Go to line 17.
                                             16c. State the type of debts you owe that are not consumer debts or business debts.
                                                    Non consumer debt


  17. Are you filing under Chapter 7?        ✔
                                             ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any         ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ❑ No
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ✔ 1-49
                                              ❑                 ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ❑ 50-99           ❑ 5,001-10,000
                                              ❑ 100-199         ❑ 10,001-25,000
                                              ❑ 200-999

  19. How much do you estimate your           ✔ $0-$50,000
                                              ❑                                    ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                     ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      liabilities to be?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ✔ $100,001-$500,000
                                              ❑                                    ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Kwok Lun Wong
                                       Kwok Lun Wong, Debtor 1
                                       Executed on 01/24/2024
                                                        MM/ DD/ YYYY




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                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Vaughn White                                                     Date 01/24/2024
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                   Vaughn White
                                                   Printed name

                                                   VW LAW LLC
                                                   Firm name

                                                   1755 Park St Suite 200
                                                   Number       Street




                                                   Naperville                                                      IL      60563
                                                   City                                                            State   ZIP Code



                                                   Contact phone (312) 888-0131                      Email address vaughn@vaughnwhite.com


                                                   6198291                                                         IL
                                                   Bar number                                                      State




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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Northern District of Illinois

In re        Wong, Kwok Lun

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      13


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        ✔ FLAT FEE
        ❑
        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $4,835.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $1,000.00

        Balance Due ................................................................................................................................................      $3,835.00


        ❑ RETAINER
        For legal services, I have agreed to accept and received a retainer of ............................................................................................................................

        The undersigned shall bill against the retainer at an hourly rate of ..................................................................................................................................
        [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved fees and
        expenses exceeding the amount of the retainer.

2.                   $0.00                  of the filing fee has been paid.

3.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
5.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

6.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;




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      b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                               CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                         01/24/2024                                               /s/ Vaughn White
                Date                                          Vaughn White
                                                              Signature of Attorney
                                                                                               Bar Number: 6198291
                                                                                                       VW LAW LLC
                                                                                              1755 Park St Suite 200
                                                                                                Naperville, IL 60563
                                                                                              Phone: (312) 888-0131

                                                                                   VW LAW LLC
                                                              Name of law firm




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Form 13-8
                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF ILLINOIS

                         COURT-APPROVED RETENTION AGREEMENT
                            (for cases filed on or after March 15, 2021)

         This agreement describes the rights and duties of debtors and their lawyers in Chapter 13
bankruptcy cases in the Northern District of Illinois. The debtor and lawyer must enter into this agreement
for the lawyer to receive a flat fee of $ 4,500.00 as compensation in the case. By signing this
agreement, the debtor and lawyer agree to do everything this agreement requires.

               DO NOT sign this agreement unless you have read it and understand it.

        This agreement replaces any conflicting agreement between the debtor and the lawyer. If any
provision of another agreement conflicts with this agreement, the lawyer will not be awarded a flat fee as
compensation in the case.

         The lawyer must perform all tasks reasonably necessary for the bankruptcy case. Performance of
those tasks is a condition of receiving the flat fee. The lawyer may not charge any other fees for
representing the debtor in the case. The sole exception, explained below, is representation of the debtor in
certain lawsuits in the bankruptcy case known as adversary proceedings.

1.      Duties of the Debtor and the Lawyer

        A.      Counseling Before Filing a Bankruptcy Case

        Before a bankruptcy case is filed, the debtor must provide financial and other information to the
lawyer. The lawyer must evaluate the information and advise the debtor whether filing a bankruptcy case
is appropriate, and if so, under which chapter of the Bankruptcy Code. The lawyer must explain the
advantages and disadvantages of filing a bankruptcy case.

        If filing a chapter 13 bankruptcy case is appropriate, the lawyer must explain how and when
attorneys’ fees will be paid.

        B.      Documents for the Case

         The lawyer or a member of the lawyer’s staff must prepare all the documents required to be filed
in the bankruptcy case. The debtor must provide all information the lawyer or a member of the lawyer’s
staff requests to prepare the documents. Failure to provide requested information will make it difficult or
impossible for the lawyer to file the case or to represent the debtor once the case is filed. The lawyer must
review each document with the debtor, who must approve and sign the documents.

        C.      Representation of the Debtor throughout the Case

       The lawyer must represent the debtor at the § 341 meeting of creditors and in all court hearings.
The lawyer must prepare and file all motions necessary for the case and must represent the debtor on all
other motions that affect the debtor’s interests.

        The lawyer must examine all claims creditors file in the case and must object to claims if
appropriate.

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        The lawyer must be available to answer the debtor’s questions about the case and must answer
them in a timely manner.

         The debtor must notify the lawyer of any significant change in the debtor’s circumstances, such
as the loss of a job or the proposed purchase or sale of a home or car. The debtor must also notify the
lawyer of any change in the debtor’s address, phone number, or email address.

        If the debtor and the lawyer decide that the case should be converted to a case under chapter 7,
the lawyer must file the notice of conversion.

        The lawyer must file and represent the debtor in adversary proceedings for turnover of property
of the bankruptcy estate.

2.      Attorneys’ Fees and Expenses

        A.       Flat Fee for Attorneys’ Fees

        The lawyer may charge a flat fee for all services required in this agreement. The flat fee may not
exceed the amount permitted by the court when the case is filed.

        The flat fee does not cover:

                        representing the debtor in adversary proceedings other than for turnover of estate
                         property

                        representing the debtor in the chapter 7 case, if the case is converted to chapter 7

                        representing the debtor in appeals

       The debtor and the lawyer can negotiate an additional fee for representation in adversary
proceedings not included in the flat fee and for representation in a chapter 7 case if the case is converted.

        B.       Expenses

        The lawyer may also charge the debtor for certain actual, necessary expenses incurred in
representing the debtor as permitted in this paragraph. These expenses are in addition to the flat attorney’s
fees. The court must approve all expenses.

        The lawyer may charge the debtor for the following expenses:

                        Court filing fees

                        Fees charged by a credit reporting agency for a credit report

                        Copying and postage charges as follows:

                         1.       A flat fee not to exceed $25 for all copying and postage charges in the
                                  case. The copying and postage charges need not be itemized


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                                                      or

                         2.       The actual amount of postage and copying costs (no more than $0.10 per
                                  page) incurred in the case. The itemization must state (a) the number of
                                  copies and the dates when the copies were made, and (2) the dates and
                                  amounts of postage charges incurred.

                        Fees charged by the IRS or other taxing authorities to obtain tax returns

                        Other actual, necessary expenses, but only if the lawyer submits to the court an
                         itemization of the expenses with supporting copies of invoices or other
                         documents

       The lawyer may not charge the debtor for an outside service that serves documents filed in the
bankruptcy case.

        C.       Advance Payment to the Lawyer

       The lawyer and the debtor must agree on whether the debtor will pay any or all of the attorneys’
fee owed for the case before it is filed.

      If the debtor makes a payment before the case is filed, the payment will be treated as an advance
payment retainer.

         The lawyer must explain to the debtor how an advance payment retainer is treated. The lawyer
will not hold the retainer in a client trust account and it will become property of the lawyer upon payment.
The special purpose of the advance payment retainer is that it permits the lawyer to be paid for essential
work that must be performed before the court can consider the lawyer’s fee application. The lawyer is not
required to keep detailed time records because this is a flat fee agreement. The lawyer need not refund
any portion of the advance payment if work is not performed, unless the court orders the lawyer to do so.

        D.       Payment of the Balance during the Case

        Attorneys’ fees not paid before the case is filed will be paid to the lawyer by the trustee out of the
debtor’s plan payments. The debtor may not pay the lawyer directly after the case is filed.

         The debtor’s Chapter 13 plan may not provide for current monthly payments to secured creditors
that are other than in equal amounts. The lawyer may not file a Chapter 13 plan for the debtor in which
payments to a secured creditor are set at an amount that accelerates payments to the lawyer.

        E.       Additional Fees in Extraordinary Circumstances

       In extraordinary circumstances, the lawyer may apply to the court for additional compensation.
The application must be accompanied by an itemization of the services rendered.

3.      Coverage Counsel

        A.       Disclosure of the Practice



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        If the debtor’s lawyer has a practice of using other lawyers not employed at the same firm to
perform any of the lawyer’s obligations under this agreement, he must disclose that practice to the debtor
before the debtor signs the agreement.

        B.      Identifying Coverage Counsel

        If the debtor’s lawyer asks another lawyer not employed at the same firm to represent the debtor
at the meeting of creditors or at any court appearance, the debtor’s lawyer must notify the debtor in
advance and must provide the name of the lawyer who will represent the debtor.

        C.      Providing Information to Coverage Counsel

       If the debtor has information to give the other lawyer for the meeting of creditors or for a court
appearance, the debtor must give that information to the debtor’s lawyer. The debtor’s lawyer must then
promptly forward the information to the lawyer representing the debtor at the meeting or in court.

4.      Dismissal or Conversion of the Case

       If the bankruptcy case is dismissed or converted to another chapter before all plan payments have
been made, the attorneys’ fees paid to the lawyer are not refundable, unless the court orders the fees
refunded.

        If the bankruptcy case is dismissed after the court has granted the lawyer’s application for
compensation, the lawyer will not enforce the order granting the application against the debtor for any
unpaid fees or expenses.

5.      Termination of this Agreement

        The debtor may terminate this agreement at any time. By terminating the agreement, the debtor
ends the lawyer’s representation. If the lawyer has not been paid in full when the agreement is terminated,
the court may reduce the balance of attorneys’ fees owed based on the services the lawyer provided
before termination.

        If the debtor terminates this agreement and hires another lawyer, the court may apportion the flat
fee between the lawyers.

        The lawyer may terminate this agreement only with court approval.

6.      Amount of Attorneys’ Fees and Expenses

        A.      Attorneys’ Fees:

        The debtor agrees to pay the lawyer a flat fee of $ 4,500.00   for the lawyer’s services in the
        chapter 13 case.

        B.      Expenses:

                 The estimated expenses for the case are:        $ 335.00

                 These expenses are for:
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF ILLINOIS
                                                       EASTERN DIVISION (CHICAGO)

IN RE: Wong, Kwok Lun                                                                 CASE NO

                                                                                      CHAPTER 13




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      01/24/2024            Signature                                 /s/ Kwok Lun Wong
                                                                         Kwok Lun Wong, Debtor
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                            Affirm, Inc.
                            Attn: Bankruptcy Attn: Bankruptcy
                            650 California St , Fl 12
                            San Francisco, CA 94108-2716



                            Bank of America
                            Attn: Bankruptcy 4909 Savarese Circle
                            Tampa, FL 33634




                            Chase Card Services
                            Attn: Bankruptcy P.O. 15298
                            Wilmington, DE 19850




                            Citibank
                            PO Box 790040
                            Saint Louis, MO 63179




                            Discover Student Loans
                            Attn: Bankruptcy
                            PO Box 30948
                            Salt Lake City, UT 84130-0948



                            Lvnv Funding/Resurgent
                            Capital
                            Attn: Bankruptcy
                            PO Box 10497
                            Greenville, SC 29603


                            Mariner Finance, LLC
                            Attn: Bankruptcy 8211 Town Center Drive
                            Nottingham, MD 21236




                            Meridian Financial Services,
                            Inc.
                            Attn: Bankruptcy
                            PO Box 1410
                            Asheville, NC 28802-1410
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                            One Main Financial
                            Attn: Bankruptcy
                            PO Box 3251
                            Evansville, IN 47731



                            Synchrony/Car Care Napa
                            Attn: Bankruptcy
                            PO Box 965060
                            Orlando, FL 32896-5060



                            Synchrony/PayPal Credit
                            Attn: Bankruptcy
                            PO Box 965060
                            Orlando, FL 32896-5060



                            VW LAW LLC
                            1755 Park St Suite 200
                            Naperville, IL 60563
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                                               Certificate Number: 15557-ILN-CC-038114299


                                                              15557-ILN-CC-038114299




                    CERTIFICATE OF COUNSELING

I CERTIFY that on January 20, 2024, at 2:16 o'clock PM CST, Kwok Wong
received from Urgent Credit Counseling, Inc., an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the Northern District of Illinois, an
individual [or group] briefing that complied with the provisions of 11 U.S.C.
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   January 20, 2024                       By:      /s/Ann Omiti


                                               Name: Ann Omiti


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
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